          Case 1:19-cr-00060-SDT Document 17 Filed 02/20/19 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

United States of America                  *
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                                          *      Case: 1:19-cr-00060-ELH
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                                          *
       v.                                 *
                                          *
                                          *
James Ian Piccirilli                      *
                                          *
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                             DEFENSE MOTION FOR DISCOVERY

       COMES NOW the Defendant, by and through his attorneys, and pursuant to the Rule 16 of
the Federal Rules of Criminal Procedure requests the Government to:

        1.      Disclose to the defendant and make available for inspection, copying, or
photographing: any relevant written or recorded statements made by the defendant, or copies
thereof, within the possession, custody, or control of the government, the existence of which is
known, or by the exercise of due diligence may become known, to the attorney for the government;
that portion of any written record containing the substance of any relevant oral statement made by
the defendant whether before or after arrest in response to interrogation by any person then known
to the defendant to be a government agent; and recorded testimony of the defendant before a grand
jury which relates to the offense charged. The defendant also requests the Government to disclose
to the defendant the substance of any other relevant oral statement made by the defendant whether
before or after arrest in response to interrogation by any person then known by the defendant to be
a government agent if the government intends to use that statement at trial.

         2.      Furnish to the defendant such copy of the defendant's prior criminal record, if any,
as is within the possession, custody, or control of the government, the existence of which is known,
or by the exercise of due diligence may become known, to the attorney for the government.

        3.      Permit the defendant to inspect and copy or photograph books, papers, documents,
photographs, tangible objects, buildings or places, or copies or portions thereof, which are within
the possession, custody or control of the government, and which are material to the preparation of
the defendant's defense or are intended for use by the government as evidence in chief at the trial, or
were obtained from or belong to the defendant.

        4.     Permit the defendant to inspect and copy or photograph any results or reports of
physical or mental examinations, and of scientific tests or experiments, or copies thereof, which are
within the possession, custody, or control of the government, the existence of which is known, or by
          Case 1:19-cr-00060-SDT Document 17 Filed 02/20/19 Page 2 of 3



the exercise of due diligence may become known, to the attorney for the government, and which are
material to the preparation of the defense or are intended for use by the government as evidence in
chief at the trial.

         5.      Disclose to the defendant a written summary of testimony the government intends
to use under Rules 702, 703, or 705 of the Federal Rules of Evidence during its case in chief at trial.
If the government requests discovery under subdivision (b)(1)(C)(ii) of Rule 16 and the defendant
complies, the government shall, at the defendant's request, disclose to the defendant a written
summary of testimony the government intends to use under Rules 702, 703, or 705 as evidence at
trial on the issue of the defendant's mental condition. The summary provided under this subdivision
shall describe the witnesses' opinions, the bases and the reasons for those opinions, and the
witnesses' qualifications.

         6.     Provide to the Defendant all material subject to discovery under Jencks v. United
States, 353 U.S. 657 (1957) and 18 U.S.C. § 3500.

         7.      Furnish the Defendant with all evidence of any exculpatory nature and material
either to the issue of guilt or to punishment, or to both. This specific request for production of
exculpatory evidence includes all information of whatever form, source, or nature which tends to
exculpate the Defendant either through indication of his innocence or through the potential
impeachment of any government witness and all information of whatever source, form or nature
which may lead to evidence tending to exculpate the Defendant by indicating his innocence or
impeaching the credibility of any potential or actual government witness, and all information which
may be or become of benefit to the Defendant in preparation for or in presenting the merits of his
defense of innocence at trial.

         8. With respect to any test(s) of the alcohol content of the defendant's breath on an Intox
EC/IR II, please provide any and all documents and information to the extent applicable to the test
in this case. Additionally, please provide any documents normally kept in connection with testing for
breath alcohol by the Intox EC/IR II.

         9. Please provide copies of any and all videotapes that were made of the Defendant.




        This request also specifically includes all facts and information of whatever form, source

or nature known to or in the possession of the government, including but not limited to, the United

State's Attorney, Assistant United State's Attorney, police officers, lay witnesses, informants,

confidants or other governmental agents or employees.
          Case 1:19-cr-00060-SDT Document 17 Filed 02/20/19 Page 3 of 3



       WHEREFORE, the Defendant prays that this Court order the Government to provide the

discovery requested.

                                                      Price Benowitz, LLP

                                                      ________/s/________________
                                                      Seth R. Okin, Esq. (#18963)
                                                      Counsel for James Ian Piccirilli
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                                POINTS AND AUTHORITIES

       Federal Rules of Criminal Procedure, Rule 16




                                CERTIFICIATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing Motion for Discovery and Inspection
was sent to the United States Attorney by electronic filing.

                                                              /s/           ____
                                                      Seth R. Okin, Esq. (#18963)
